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                                                            July 18, 2019

VIA CM/ECF

The Honorable Andrew S. Hanen
United States Courthouse
515 Rusk Street, Room 8613
Houston, Texas 77002

      Re:       Texas, et al. v. United States, et al., No. 1:18-cv-00068

Judge Hanen:

      Pursuant to this Court’s Local Rule 8.D, this letter memorializes the parties’
agreement to the modification of two deadlines. First, the parties agree that Plaintiff
States will provide the responses to Defendant-Intervenors’ discovery requests
pursuant to this Court’s Order, ECF No. 412, on August 7, 2019, two weeks after the
Court-ordered deadline of July 24, 2019. Second, the parties agree that the discovery
deadline will likewise be extended for two weeks, from September 9, 2019, to
September 23, 2019.

       While Federal Defendants agree to these extensions, they wish to note their
position that no further discovery is appropriate pending the resolution of Plaintiff
States’ fully briefed motion for summary judgment and that any necessary extension
of the discovery deadline is more appropriately addressed upon resolution of Plaintiff
States’ motion.


                                                                       Sincerely,

                                                                       /s/ Todd Lawrence Disher

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AGREED:


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